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FOR THE WESTERN DISTRICT OF TENNESSEE M"Eo Bv "‘

WESTERN DIVISION 05`““ 26 AH 9:28

IN THE UNITED STATES DISTRICT COURT é£;_oc

 

TAmIE JAcKsoN, et al.. 0§;1_1_1@11.1;;»141~3

THOM“S M. GOULD
CLER%U ,,»?31”31€3`{ COUHT
W
Plaintiffs,
vs.

Civ. No. 04-2085-M1[P

THE I-IAMMER CORPORATION,
et al.,

Defendants.

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ORDER DENYING WITHOUT PREJUDICE DEFENDANTS’ AAA PHARMACEUTICAL,
INC., AND THE HAMMER CORPORATION'S MOTION TO AMEND SCHEDULING
ORDER

 

Before the court is defendants’ AAA Pharmaceutical, Inc., and
The Hammer Corporation's Motion to Amend Scheduling Order, filed
July 18, 2005 (dkt #41). A review of the record reveals that the
defendants did not file a certificate of consultation with their
motion. Local Rule 7.2 requires that

“[a]ll motions . . . shall be accompanied by a
certificate of counsel . . . affirming that,
after consultation between the parties to the
controversy, they are unable to reach an
accord as to all issues or that all other
parties are in agreement with the action
requested by the motion.” Local Rule
7.2(a)(l)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, defendants’ motion is DENIED, without prejudice.

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w\th Fluie 58 and/or 79(3) FRCP on 12 age § § ,

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The defendants may renew their motion by refiling it with a

certificate of consultation in compliance with Local Rule 7.2.

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TUM`.’PHAM
United States Magistrate Judge

'__Tv~Q,\U QQI, aeq'>"

IT IS SO ORDERED.

Date

 

July 26, 2005 tc the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

